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                             UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN AND WESTERN DISTRICTS OF TEXAS




IN RE:                                                                       §
                                                                             §
Allan L. Reagan                                                              §            CASE NO. 20-11161        tmd
                                                                             §            CHAPTER 11
                                                                             §
DEBTOR                                                                       §

                                                   CHAPTER 11 POST-CONFIRMATION REPORT
                                               FOR THE QUARTER ENDING SEPTEMBER     2021

 L    I ✓ jQuarterly       or    □Final (check one)

      A. Disbursements made under the plan (itemize on page 3)                                                                   $     755 ,063.00
      8. Disbursements not under the plan                                                                                        $ _ _6_9,_57_8_.1_2

                                     Total Disbursements                                                                         $     824,641.12

            *ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR, UNDER THE PLAN OR OTHERWISE, MUST BE
            ACCOUNTED FOR AND REPORTED HEREIN FOR THE PURPOSE OF CALCULATING THE QUARTERLY FEES.

3.          Has the order confirming plan become final?
4.          Are Plan payments being made as required under the Plan?
5.          If "No", what Plan payments have not been made and why?
           Please explain:           NOTE: The Debtor has timely funded his required Plan payments but the Trustee
                                     has not yet distributed any proceeds to claimants.



6.         If plan payments have not yet begun, when will the first plan payment be made? _ _ _ _ _ __ _ _ (Date)

7.         What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the property
           treated under the plan? June 2021                 (Date)

8.         Please describe any factors which may materially affect your ability to obtain a final decree at this time.
            None




9.         Complete the form for Plan Disbursements attached.


10.
                                                                                                                INITIALS
           A. If this is a final report, has an application for Final Decree been submitted*?
                     0        Yes Date application was submitted _ _ _ _ __ _ __
                                                                                                                DATE


                     D        No Date when application will be submitted _ __ _ __                                UST USE ONLY

               * (if required by Local Rule)

           8. Estimated Date of Final Payment Under Plan 12-31-2021




                                    (PRINT NAME)
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     IN RE: Allan L. Reagan              9        CASE NO. 20-11161 tmd



CASH RECEIPTS AND DISBURSEMENTS                                                      CURRENT                       CONFIRMATION
                                                                                     QUARTER                          TO DATE


C/\Sll-HEGINN ING OF QUARTER                                                                 84,467.04                       226 ,633 .57

RECEIPTS                                                                                 821,281.92                        2,232,115 .67

Oil$~ -

NET PAYROLL

PAYROLL TAXES PAID

SECURED/RENTAL/LEASES                                                                         8,687.79                             9,488.07

UTILITIES                                                                                     4,448.05                             5,508 .90

INSURANCE                                                                                     1,775 .08                            2,741.61

INVENTORY PURCHASES

VEHICLE EXPENSES                                                                              1,863.90                             4,387.17

TRAVEL & ENTERTAINMENT                                                                          226.03                              335 .97

REPAIRS MAINTENANCE & SUPPLIES                                                               10,653.14                        16,250.14

ADMINISTRATIVE & SELLING                                                                     11,015.00                         29,515.41

OTHER /attach list)
                                                                                             30,909.13                        44,224.13

           PLAN PAYMENTS (oal!e 1 and oal!e 3)                                           755,063.00                        2,265,190.00

TOTAL DISBURSEMENTS (this figure should equal Total disbursements, Item 2,               824,641.12                        2,377,641 .40
Summary of Disbursements)


NET CASH FLOW                                                                                (3,359.20)                     (145,525 .73)

CASH-END OF QUARTER                                                                          81,107 .84                        81,107.84
                                            CASH ACCOUNT RECONCILIATION FOR ALL FUNDS
                                                   QUARTER ENDING SEPTEMBER
                                                     Month/Year       Month/Year                   u--•'-~---
                                                         03 2021                                                           Total

Bank Balance                                               186,170.84                                                         186,170 .84

Denosit in Transit                                                                                                                     0.00

Outstandin~ Checks                                         105,063.00                                                         105,063.00

Adjusted Balance                                            81,107 .84               0.00                       0.00           81,107 .84

Bel!inninl! Cash-Per Books                                  84,467 .04                                                         84,467 .04

Receipts                                                   171,281.92                                                         171,281.92

Transfers Between Accounts                                                                                                              0.00

Checks/Other Disbursements                                 174,641.12                                                         174,641.12

Ending Cash-Per Books                                       81,107 .84               0 .00                      0.00           81,107 .84

                                                                             D 0ISDURSEM E TS
                                    Month/Year                                          Month/Year
                                       3 2021
Be innin Cash                               84,467.04

Total Recei ts                             821 ,281.92

Total Disbursements                        824 ,641.12

Ending Cash                                 81,107.84                        0 .00

                                                                     2
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        INRE:                                                 §
                                                              §
         Allan L. Reagan                                      §   CASE NO. 20-11161 tmd
                                                              §
        DEBTOR                                                §


                                           PAYMENTS TO CREDITORS UNDER THE PLAN



                                                                             CURRENT         CONFIRMATION
                                                                             QUARTER           TO DATE

                                                        NEXTP:.4.YMENT
                  CREDITOR                      CLASS        DUE
Estate of Allan L. Reagan                       GUC       12-31-2021            755,063.00           2,265,190.00
claims to be disbursed by Subchapter V
Trustee -- see Trustee's report


NOTE: Of the Q3 plan payments, $105,063
was disbursed from Debtor's D-I-P account
at Wells Fargo and $650,000 was funded
directly into the Trustee fiduciary account.




NOTE: Cash balances include both cash in
banks (total $8,175.88 at 7-1-2021 and
$4,816.66 at 9-30-2021) and brokerage
accounts. Brokerage account cash is pledged
so secure borrowings from brokerages and
in that context balances are restricted.




TOTAL PLAN PAYMENTS: (report on page I and page 2)                             755,063 .00           2,265,190.00




                                                             3
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             QUARTERLY REPORT AS OF SEPTEMBER 30, 2021 : DETAIL OF OTHER EXPENDITURES
                                                                                                    ~
     Date     I   $ Amount    I                              Description
     7/2/21        2,500.00 ZELLE TO REAGAN JANET ON 07/01 REF #RP0BTNBLVY PARTIALJULY 2021 D
     7/2/21          200.00 PURCHASE AUTHORIZED ON 06/29 LAZARUS NATURALS 206-9093354 OR S5:
     7/2/21          181.57 PURCHASE AUTHORIZED ON 07/01 H-E-B #592 LEANDER TX 53811828072364
     7/2/21           96.27   PURCHASE AUTHORIZED ON 07/01 NATURAL GROCERS CP CEDAR PARK TX S!
     7/2/21           43.25   PURCHASE AUTHORIZED ON 06/30 AMAZON.COM*297NK0L AMZN.COM/BILI
     7/2/21           20.54 PURCHASE AUTHORIZED ON 07/01 WHOLEFDS CDP #1066 CEDAR PARK TX 54
     7/6/21          346.89   PURCHASE AUTHORIZED ON 07/02 TOMLINSON'S LEANDE LEANDER TX S301
     7/6/21          111.16 PURCHASE AUTHORIZED ON 07/02 COSTCO BY INSTACAR WWW.COSTCO.CO
     7/6/21           95.00 PURCHASE AUTHORIZED ON 07/02 INSTACART HTTPSINSTACAR CA 53811831
     7/6/21           62.86   PURCHASE AUTHORIZED ON 07/02 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     7/6/21           55.00   PURCHASE AUTHORIZED ON 07/02 COSTCO BY INSTACAR WWW.COSTCO.CO
     7/6/21           43.29   PURCHASE AUTHORIZED ON 07/03 AMZN Mktp US*2934W Amzn.com/bill W
     7/6/21           31.26   PURCHASE AUTHORIZED ON 07/02 INSTACART HTTPSINSTACAR CA 53811831
     7/6/21           11.55   PURCHASE AUTHORIZED ON 07/03 Amazon.com*2970543 Amzn.com/bill WJ
     7/6/21            5.74 PURCHASE AUTHORIZED ON 07/02 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     7/7/21        1,100.00 ZELLE TO REAGAN JANET ON 07/07 REF #RP0BVSV4XF REMAINDER OF JULY
     7/7/21           15.14 RECURRING PAYMENT AUTHORIZED ON 07/06 NETFLIX.COM NETFLIX.COM C
     7/8/21           95.99   PURCHASE AUTHORIZED ON 07/06 CVSI PLUS CBD OIL 855-758-7223 CA S461
     7/8/21           25.96   PURCHASE AUTHORIZED ON 07/03 AMZN Mktp US*293TV Amzn.com/bill WJ
     7/9/21           81.07   PURCHASE AUTHORIZED ON 07/08 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     7/9/21           28.93 PURCHASE AUTHORIZED ON 07/08 COSTCO BY INSTACAR WWW.COSTCO.CO
     7/9/21            9.55   PURCHASE AUTHORIZED ON 07/08 COSTCO BY INSTACAR HTTPSINSTACAR CJ
    7/12/21          150.00 ZELLE TO DEMPS MICHELLE ON 07/11 REF #RP0BWPDDZ7 PHYSICAL THERAP)
    7/12/21           23.98 PURCHASE AUTHORIZED ON 07/08 AMZN Mktp US*2988P Amzn.com/bill WJ
    7/13/21          300.00 PURCHASE AUTHORIZED ON 07/12 RENEW PSYCHIATRIC WWW.RENEWPSYC
    7/13/21          284.63   PURCHASE AUTHORIZED ON 07/12 Keith Kesler DO AUSTIN TX S58119400422
    7/14/21          102.24 PURCHASE AUTHORIZED ON 07/13 INSTACART HTTPSINSTACAR CA 5301195(
    7/15/21          222.92   PURCHASE AUTHORIZED ON 07/13 TRACTOR SUPPLY #19 LIBERTY HILL TX 55,
   7/15/21            98.62   PURCHASE AUTHORIZED ON 07/13 AMZN Mktp US*290WR Amzn.com/bill Vv
   7/15/21            20.34 PURCHASE AUTHORIZED ON 07/13 AMZN Mktp US*293VC Amzn.com/bill WJ
   7/15/21            12.98 PURCHASE AUTHORIZED ON 07/13 AMZN Mktp US*2E6PT Amzn.com/bill WJ
   7/16/21           229.11   PURCHASE AUTHORIZED ON 07/14 COSTCO BY INSTACAR WWW.COSTCO.CO
   7/16/21           115.89 PURCHASE AUTHORIZED ON 07/14 COSTCO BY INSTACAR WWW.COSTCO.CO
   7/16/21            55.99   PURCHASE AUTHORIZED ON 07/14 CVSI PLUS CBD OIL 855-758-7223 CA S581
   7/16/21             7.95   PURCHASE AUTHORIZED ON 07/15 COSTCO BY INSTACAR HTTPSINSTACAR CJ
   7/16/21             6.60 PURCHASE AUTHORIZED ON 07/15 AMAZON.COM*2E7XX6Z AMZN.COM/BILI
   7/19/21           267.00 PURCHASE AUTHORIZED ON 07/15 COMANCHE TRAIL VET LIBERTY HILL TX S~
   7/19/21            62.99   PURCHASE AUTHORIZED ON 07 /16 HILL COUNTRY APOTH AUSTIN TX S58119
   7/19/21            22.33   PURCHASE AUTHORIZED ON 07/15 AMZN Mktp US*2E3H0 Amzn.com/bill WJ
   7/20/21           265.62 PURCHASE AUTHORIZED ON 07/19 INSTACART HTTPSINSTACAR CA S461201C
   7/20/21           150.00 PURCHASE AUTHORIZED ON 07/19 RENEW PSYCHIATRIC WWW.RENEWPSYC
   7/21/21           174.85 PURCHASE AUTHORIZED ON 07/19 COSTCO BY INSTACAR HTTPSINSTACAR CJ
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     Date      $ Amount    I                              Description
    7/21/21       115.00 PURCHASE AUTHORIZED ON 07/20 MARTIN NELSON ENDO AUSTIN TX S3812
    7/21/21       111.97 PURCHASE AUTHORIZED ON 07/20 TOTAL WI VIA INSTA TOTALWINE.COM Cl
    7/21/21        60.00 PURCHASE AUTHORIZED ON 07/19 TOTAL WI VIA INSTA TOTALWINE.COM Cl
    7/21/21        16.57 PURCHASE AUTHORIZED ON       07/19 INSTACART HTTPSINSTACAR CA S461201:1
    7/22/21        89.95 PURCHASE AUTHORIZED ON       07/21 H-E-8 #592 LEANDER TX S3812027248505
    7/22/21        18.00 PURCHASE AUTHORIZED ON       07/20 AMAZON.COM*2E5NN3M AMZN.COM/BI
    7/23/21       225.00 PURCHASE AUTHORIZED ON       07 /22 PAY PAL *BBFS 402-935-7733 CA S581203   1



    7/23/21        43.28 PURCHASE AUTHORIZED ON 07/20 AMZN Mktp US*2E2EO Amzn.com/bill WJ
    7/26/21       150.00 ZELLE TO DEMPS MICHELLE ON 07/25 REF #RP0BZMW25W PHYSICAL THERAF
    7/26/21        88.89 PURCHASE AUTHORIZED ON 07/24 INSTACART HTTPSINSTACAR CA 53812051
    7/26/21        47.45 PURCHASE AUTHORIZED ON 07/22 AMZN Mktp US*2EOKD Amzn.com/bill WJ
    7/26/21        42.88 PURCHASE AUTHORIZED ON 07/24 WALMART.COM AW 800-966-6546 AR S31
    7/26/21        38.54 PURCHASE AUTHORIZED ON 07/23 H-E-B #592 LEANDER TX S3012047822002
    7/26/21        30.50 PURCHASE AUTHORIZED ON 07/22 AMAZON.COM*2E3TU5QAMZN.COM/Bll
    7/26/21        18.09 RECURRING PAYMENT AUTHORIZED ON 07/24 NYTimes*NYTimes 800-698-4
    7/26/21        17.47 PURCHASE AUTHORIZED ON 07/22 AMAZON.COM*2E9UR7V AMZN.COM/Bll
    7/26/21        16.23 PURCHASE AUTHORIZED ON 07/22 AMAZON.COM*2E1KY5W AMZN.COM/Bll
    7/26/21        15.45 PURCHASE AUTHORIZED ON 07/22 AMZN Mktp US*2E2TN Amzn.com/bill W,
    7/27/21       150.00 PURCHASE AUTHORIZED ON 07/26 RENEW PSYCHIATRIC WWW.RENEWPSYC
    7/27/21       125.00 PURCHASE AUTHORIZED ON 07/24 COSTCO BY INSTACAR HTTPSINSTACAR G
    7/27/21       110.49 PURCHASE AUTHORIZED ON 07/26 COSTCO BY INSTACAR WWW.COSTCO.CO
    7/27/21        30.00 PURCHASE AUTHORIZED ON 07/24 COSTCO BY INSTACAR WWW.COSTCO.CO
    7/28/21       227.33   PURCHASE AUTHORIZED ON 07/25 AMZN Mktp US*2P4O6 Amzn.com/bill W,
    7/28/21       188.19 PURCHASE AUTHORIZED ON 07/27 AMZN Mktp US*2E6G6 Amzn.com/bill W,
    7/28/21        19.47 PURCHASE AUTHORIZED ON 07/27 AMZN MKTP US*2E9YV AMZN.COM/BILL
    7/29/21       151.41 PURCHASE AUTHORIZED ON 07/27 AMZN Mktp US*2P3RW Amzn.com/bill \J\J
    7/29/21        74.60 PURCHASE AUTHORIZED ON 07/27 COSTCO BY INSTACAR WWW.COSTCO.CO
    7/29/21        56.83 PURCHASE AUTHORIZED ON 07/27 TOTAL WI VIA INSTA TOTALWINE.COM CJ
    7/29/21        55.00 PURCHASE AUTHORIZED ON 07/27 INSTACART HTTPSINSTACAR CAS3812091
    7/29/21        41.72   PURCHASE AUTHORIZED ON 07/27 COSTCO BY INSTACAR WWW.COSTCO.CO
    7/29/21        41.09   PURCHASE AUTHORIZED ON 07/27 Amazon.com*2P4XY4C Amzn.com/bill WJ
    7/29/21        29.22 PURCHASE AUTHORIZED ON       07/27 AMZN Mktp US*2E4J3 Amzn.com/bill WA
    7/29/21        27.04 PURCHASE AUTHORIZED ON       07/27 AMZN Mktp US*2P21Z Amzn.com/bill WJ
    7/29/21        21.64 PURCHASE AUTHORIZED ON       07/27 AMZN Mktp US*2E4Q4 Amzn.com/bill W,
    7/29/21        17.20 PURCHASE AUTHORIZED ON       07/28 INSTACART HTTPSINSTACAR CA S581209E
    7/29/21        16.56 PURCHASE AUTHORIZED ON 07/27 AMZN Mktp US*2P6W0 Amzn.com/bill W
    7/29/21         7.19 PURCHASE AUTHORIZED ON 07/27 AMZN Mktp US*2E1N3 Amzn.com/bill W,
    7/30/21       475.12 PURCHASE AUTHORIZED ON 07/28 TOMLINSON'S LEANDE LEANDER TX 5381
    7/30/21         14.92 PURCHASE AUTHORIZED ON 07/28 AMZN Mktp US*2E4PM Amzn.com/bill W
    7/30/21          0.99 RECURRING PAYMENT AUTHORIZED ON 07/28 APPLE.COM/BILL 866-712-775
     8/2/21      2,350.00 ZELLE TO REAGAN JANET ON 08/02 REF #RP0C3GPDC7 AUG 1ST PARTIAL TO
     8/2/21       150.00 ZELLE TO DEMPS MICHELLE ON 08/01 REF #RP0C397FG4 PT
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     Date     I   $ Amount    I                              Description
     8/2/21          110.00 PURCHASE AUTHORIZED ON 07/30 COSTCO BY INSTACAR WWW.COSTCO.CO
     8/2/21           58.15   PURCHASE AUTHORIZED ON 07/30 FLIX BREWHOUSE ROUND ROCK TX 5461;
     8/2/21           58.13   PURCHASE AUTHORIZED ON 07/30 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     8/3/21           38.98   PURCHASE AUTHORIZED ON 07/31 AMAZON.COM*2P3Y15L AMZN.COM/BILL
     8/4/21        1,250.00 ZELLE TO REAGAN JANET ON 08/04 REF #RP0C3RVMVL REMAINDER AUG 20.
     8/4/21          284.63 PURCHASE AUTHORIZED ON 08/03 Keith Kesler DO AUSTIN TX S5812157494~
     8/4/21           52.60   PURCHASE AUTHORIZED ON 07/31 AMZN Mktp US*2P216 Amzn.com/bill Wt
     8/6/21           42.49   PURCHASE AUTHORIZED ON 08/04 Amazon.com*2P1F792 Amzn.com/bill Wt
     8/9/21          325.32   PURCHASE AUTHORIZED ON 08/08 HUALALAI ESTATE CO WWW.KONAGRO\I\
     8/9/21          293.44 PURCHASE AUTHORIZED ON 08/06 WHOLEFDS CDP #1066 CEDAR PARK TX S4
     8/9/21          166.07   PURCHASE AUTHORIZED ON 08/06 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     8/9/21           95.99   PURCHASE AUTHORIZED ON 08/05 CVSI PLUS CBD OIL 855-758-7223 CA 5461
     8/9/21           28.93   PURCHASE AUTHORIZED ON 08/06 COSTCO BY INSTACAR WWW.COSTCO.CO
     8/9/21           28.05   PURCHASE AUTHORIZED ON 08/07 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     8/9/21           15.14 RECURRING PAYMENT AUTHORIZED ON 08/06 NETFLIX.COM NETFLIX.COM C
    8/10/21           68.24 PURCHASE AUTHORIZED ON 08/09 Amazon .com*2P27B15 Amzn.com/bill WJ
    8/10/21            4.87   PURCHASE AUTHORIZED ON 08/09 Amazon.com*2P2TU1U Amzn.com/bill W
    8/12/21          300.28   PURCHASE AUTHORIZED ON 08/11 INSTACART HTTPSINSTACAR CA S461223E
    8/12/21          192.50 PURCHASE AUTHORIZED ON 08/11 COSTCO BY INSTACAR WWW.COSTCO.CO
    8/12/21           70.14 PURCHASE AUTHORIZED ON 08/11 COSTCO BY INSTACAR WWW.COSTCO.CO
    8/12/21           35.00 PURCHASE AUTHORIZED ON 08/11 CEDAR PARK PEDIATR 512-3362777 TX S5;
    8/12/21           27.66 PURCHASE AUTHORIZED ON 08/07 AMZN Mktp US*2P2F0 Amzn.com/bill Wt
    8/12/21           27.66 PURCHASE AUTHORIZED ON 08/07 AMZN Mktp US*2P8BX Amzn .com/bill WJ
    8/13/21           40.98 PURCHASE AUTHORIZED ON 08/11 CVSI PLUS CBD OIL 855-758-7223 CA S461
    8/16/21           96.30 PURCHASE AUTHORIZED ON 08/13 WALMART.COM AU 800-966-6546 AR S4E
    8/16/21           25.00 PURCHASE AUTHORIZED ON 08/12 PAYPAL *BBFS 402-935-7733 CA S3812251
    8/17/21          170.95 PURCHASE AUTHORIZED ON 08/16 H-E-B #592 LEANDER TX S3012287776280
    8/17/21           51.94 PURCHASE AUTHORIZED ON 08/16 H-E-B #592 LEANDER TX S3812287740476
    8/18/21          484.50 ZELLE TO REAGAN JANET ON 08/18 REF #RP0C6W4CHK GABINO ICE STORM
    8/18/21          139.37 PURCHASE AUTHORIZED ON 08/16 AMZN Mktp US*2D99R Amzn.com/bill W,
    8/18/21           77.43   PURCHASE AUTHORIZED ON 08/16 QT 4146 LEANDER TX S581228826541589
    8/18/21           10.81   PURCHASE AUTHORIZED ON 08/16 AMZN Mktp US*2D7AJ Amzn.com/bill Wt
    8/19/21          396.48   PURCHASE AUTHORIZED ON 08/16 TOMLINSON'S LEAN DE LEANDER TX S461
    8/19/21          270.60   PURCHASE AUTHORIZED ON 08/17 PAYPAL *WALGREEN C 402-935-7733 IL S
    8/19/21          207.42   PURCHASE AUTHORIZED ON 08/16 AMZN Mktp US*2D94QAmzn.com/bill W.
    8/20/21          438.18 PURCHASE AUTHORIZED ON 08/18 COMANCHE TRAIL VET LIBERTY HILL TX S~
    8/20/21            9.99   PURCHASE AUTHORIZED ON 08/19 PP*APPLE.COM/BILL 402-935-7733 CA S3~
    8/23/21          175.66 PURCHASE AUTHORIZED ON 08/20 WHOLEFDS CDP #1066 CEDAR PARK TX S3
    8/23/21           94.39   PURCHASE AUTHORIZED ON 08/20 AMZN Mktp US*2DSS0 Amzn.com/bill WJ
    8/23/21           57.56 PURCHASE AUTHORIZED ON 08/21 Amazon.com*2D6K18G Amzn.com/bill W.
    8/23/21           37.97 PURCHASE AUTHORIZED ON 08/21 COSTCO BY INSTACAR HTTPSINSTACAR CJ
    8/23/21           23.26 PURCHASE AUTHORIZED ON 08/19 AMAZON.COM*2D5N901 AMZN.COM/BIL
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     Date     I   $ Amount    I                        Description
    8/23/21           18.73 PURCHASE AUTHORIZED ON 08/21 Amazon.com*2D81L4I Amzn.com/bill WA
    8/23/21           18.51 PURCHASE AUTHORIZED ON 08/19 Amazon.com*2D8B349 Amzn.com/bill W,
    8/23/21           18.09 RECURRING PAYMENT AUTHORIZED ON 08/21 NYTimes*NYTimes 800-698-4
    8/23/21           13.08 PURCHASE AUTHORIZED ON 08/19 AMZN Mktp US*2D9NQ Amzn.com/bill W
    8/23/21            6.59 PURCHASE AUTHORIZED ON 08/19 Amazon.com*2D4HP3D Amzn.com/bill W .
    8/23/21            4.62 PURCHASE AUTHORIZED ON 08/19 AMAZON.COM*2D2B269 AMZN.COM/BIL
    8/23/21            4.38 PURCHASE AUTHORIZED ON 08/19 AMAZON.COM*2D3NZ01 AMZN.COM/BIL
    8/25/21           50.00 PURCHASE AUTHORIZED ON 08/24 TEXAS ORTHOPEDICS 512-439-1062 TX S4
    8/27/21           32.88 PURCHASE AUTHORIZED ON 08/26 AMZN MKTP US*2518R AMZN.COM/BILL
    8/30/21          362.80 PURCHASE AUTHORIZED ON 08/27 COSTCO BY INSTACAR WWW.COSTCO.CO
    8/30/21           72.31 PURCHASE AUTHORIZED ON 08/28 INSTACART HTTPSINSTACAR CA 5381240E
    8/30/21           57.32 PURCHASE AUTHORIZED ON 08/28 INSTACART HTTPSINSTACAR CA S581241C
    8/30/21           41.72   PURCHASE AUTHORIZED ON 08/27 COSTCO BY INSTACAR WWW.COSTCO.CO
    8/30/21            0.99   RECURRING PAYMENT AUTHORIZED ON 08/28 APPLE.COM/BILL 866-712-775
    8/31/21           66.71   PURCHASE AUTHORIZED ON 08/28 WALMART.COM AZ 800-966-6546 AR S46
    8/31/21           58.72   PURCHASE AUTHORIZED ON 08/28 WALMART.COM AZ 800-966-6546 AR S46
    8/31/21           57.36   PURCHASE AUTHORIZED ON 08/30 AMZN Mktp US*258PW Amzn.com/bill W
    8/31/21            4.32 PURCHASE AUTHORIZED ON 08/30 AMZN Mktp US*257V0 Amzn.com/bill WJ
     9/1/21        2,500.00 ZELLE TO REAGAN JANET ON 09/01 REF #RP0C9YK9CP SEPT 2021 JLR PART 1
     9/1/21           31.90 PURCHASE AUTHORIZED ON 08/30 AMZN Mktp US*2521D Amzn.com/bill WJ
     9/2/21        1,000.00 ZELLE TO REAGAN JANET ON 09/02 REF #RP0CBSG36F SEPT 2021 JLR PART~
     9/2/21          569.25 PURCHASE AUTHORIZED ON 09/01 Keith Kesler DO AUSTIN TX S3012445735.:1
     9/2/21           71.16 PURCHASE AUTHORIZED ON 09/01 INSTACART HTTPSINSTACAR CA 54612445
     9/2/21           63.07 PURCHASE AUTHORIZED ON 08/31 COSTCO BY INSTACAR HTTPSINSTACAR CJ
     9/2/21           34.18 PURCHASE AUTHORIZED ON 08/31 COSTCO BY INSTACAR WWW.COSTCO.CO
    9/2/21            17.99 PURCHASE AUTHORIZED ON 08/31 AMAZON.COM*2539686 AMZN.COM/BILI
    9/2/21            13.74 PURCHASE AUTHORIZED ON 09/01 AMZN MKTP US*2578U AMZN.COM/BILL
    9/3/21           200.00 PURCHASE AUTHORIZED ON 09/02 PAYPAL *BBFS 402-935-7733 CA 5301245:
    9/3/21           107.65 PURCHASE AUTHORIZED ON 09/02 WHOLEFDS CDP #1066 CEDAR PARK TX S3
    9/3/21           100.00 ZELLE TO REAGAN JANET ON 09/03 REF #RP0CBK86WS SEPT 2021 JLR PMT 3
    9/3/21            42.96 PURCHASE AUTHORIZED ON 09/01 Amazon.com*2556I7J Amzn.com/bill WA
    9/3/21            24.96   PURCHASE AUTHORIZED ON 08/31 AMAZON .COM*2SOU622 AMZN.COM/BIL
    9/7/21            95.99   PURCHASE AUTHORIZED ON 09/04 CVSI PLUS CBD OIL 855-758-7223 CA S301
    9/7/21            69.26 PURCHASE AUTHORIZED ON 09/03 AMZN Mktp US*258CG Amzn.com/bill W,
    9/7/21            66.13 PURCHASE AUTHORIZED ON 09/03 WHOLEFDS CDP #1066 CEDAR PARK TX 53
    9/7/21            22.73   PURCHASE AUTHORIZED ON 09/03 AMZN Mktp US*251G3 Amzn.com/bill W,
    9/7/21            21.98 PURCHASE AUTHORIZED ON 09/03 AMZN Mktp US*257SH Amzn.com/bill WJ
    9/7/21            15.14 RECURRING PAYMENT AUTHORIZED ON 09/06 NETFLIX.COM NETFLIX.COM C
    9/8/21            35.00   PURCHASE AUTHORIZED ON 09/07 CARDIO SPEC OF TX AUSTIN TX S38125071
    9/9/21           346.89 PURCHASE AUTHORIZED ON 09/08 TOMLINSON'S LEANDE LEANDER TX S581
    9/9/21           137.71 PURCHASE AUTHORIZED ON 09/08 H-E-B #592 LEANDER TX S3012517295425
    9/9/21            50.00 PURCHASE AUTHORIZED ON 09/08 TEXAS ORTHOPEDICS 512-439-1062 TX s's
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    Date      I   $ Amount    I                          Description
    9/10/21          109.62 PURCHASE AUTHORIZED ON 09/09 COSTCO BY INSTACAR HTTPSINSTACAR CJ
    9/10/21           70.14 PURCHASE AUTHORIZED ON 09/09 COSTCO BY INSTACAR WWW.COSTCO.CO
    9/10/21            1.58 PURCHASE AUTHORIZED ON 09/09 COSTCO BY INSTACAR HTTPSINSTACAR Cl
    9/13/21          197.25 PURCHASE AUTHORIZED ON 09/11 INSTACART HTTPSINSTACAR CA S3812542
    9/13/21           97.41 PURCHASE AUTHORIZED ON 09/11 Amazon.com*2G1YO21 Amzn.com/bill W
    9/13/21           62.23 PURCHASE AUTHORIZED ON 09/11 AMZN Mktp US*2G7Gl Amzn.com/bill W
    9/13/21           49.10 PURCHASE AUTHORIZED ON 09/11 AMZN Mktp US*2G7DB Amzn.com/bill W
    9/13/21           42.68 PURCHASE AUTHORIZED ON 09/10 AMZN Mktp US*2G7LI Amzn.com/bill WA
    9/13/21           41.12 PURCHASE AUTHORIZED ON 09/10 AMZN Mktp US*2G0W2 Amzn.com/bill \/\
    9/13/21           12.98 PURCHASE AUTHORIZED ON 09/09 AMZN Mktp US*253FT Amzn.com/bill Wt
    9/14/21          177.09 PURCHASE AUTHORIZED ON 09/13 TARGET 0001 ROUND ROCK TX S3012566·
    9/14/21           79.00 PURCHASE AUTHORIZED ON 09/13 PREFERRED IMAGING ROUND ROCK TX     s:
    9/14/21           55.99 PURCHASE AUTHORIZED ON 09/12 CVSI PLUS CBD OIL 855-758-7223 CA S301
   9/14/21            43.25   PURCHASE AUTHORIZED ON 09/12 AMZN Mktp US*2G7SX Amzn.com/bill W,
    9/15/21          215.11 PURCHASE AUTHORIZED ON 09/14 COSTCO BY INSTACAR WWW.COSTCO.CO
   9/15/21           122.86 PURCHASE AUTHORIZED ON 09/12 Amazon.com*2G31Q0B Amzn.com/bill W,
   9/15/21           118.98 PURCHASE AUTHORIZED ON 09/12 Amazon.com*2G7U55C Amzn.com/bill W
   9/15/21             6.15   PURCHASE AUTHORIZED ON 09/14 COSTCO BY INSTACAR WWW.COSTCO.CO
   9/16/21           107.17 RECURRING PAYMENT AUTHORIZED ON 09/15 INSTACART*SUBSCRIP HTTPS
   9/17/21           179.97 PURCHASE AUTHORIZED ON 09/16 WALGREEN$ #9216 ROUND ROCK TX 546
   9/17/21            72.84 PURCHASE AUTHORIZED ON 09/16 AMZN Mktp US*2G8X9 Amzn.com/bill W,
   9/17/21            35.00 PURCHASE AUTHORIZED ON 09/16 CEDAR PARK PEDIATR 512-3362777 TX 531
   9/17/21            34.80 PURCHASE AUTHORIZED ON 09/16 AMZN Mktp US*2G35S Amzn.com/bill W,
   9/20/21           273.78 PURCHASE AUTHORIZED ON 09/18 INSTACART HTTPSINSTACAR CA S5812611
   9/20/21           249.97 PURCHASE AUTHORIZED ON 09/16 AMZN MKTP US*2G6VA AMZN.COM/BILL
   9/20/21           138.70 PURCHASE AUTHORIZED ON 09/19 WHOLEFDS CDP #1066 CEDAR PARK TX S3
   9/20/21            62.93   PURCHASE AUTHORIZED ON 09/18 INSTACART HTTPSINSTACAR CA S4612611
   9/20/21            56.11 PURCHASE AUTHORIZED ON 09/17 COMANCHE TRAIL VET LIBERTY HILL TX S~
   9/20/21            35.83   PURCHASE AUTHORIZED ON 09/16 AMAZON.COM*2G3RQ9J AMZN.COM/BIL
   9/20/21            18.09 RECURRING PAYMENT AUTHORIZED ON 09/18 NYTimes*NYTimes 800-698-4
   9/20/21            16.24 PURCHASE AUTHORIZED ON 09/16 AMAZON.COM*2G7ME92 AMZN.COM/BII
   9/20/21             6.44 PURCHASE AUTHORIZED ON 09/16 AMAZON.COM*2G6K60J AMZN.COM/BILI
   9/20/21             5.38 PURCHASE AUTHORIZED ON 09/16 AMZN MKTP US*2G0XZ AMZN.COM/BILL
   9/21/21           165.19 PURCHASE AUTHORIZED ON 09/18 COSTCO BY INSTACAR WWW.COSTCO.CO
   9/21/21            90.24 PURCHASE AUTHORIZED ON 09/18 COSTCO BY INSTACAR WWW.COSTCO.CO
   9/23/21            56.03   PURCHASE AUTHORIZED ON 09/22 WHOLEFDS DOM# 103 AUSTIN TX S46121
   9/23/21            50.00 PURCHASE AUTHORIZED ON 09/22 TEXAS ORTHOPEDICS 512-439-1062 TX S3
   9/24/21           463.39 PURCHASE AUTHORIZED ON 09/23 FAVOR HEB HTTPSWWW.FAVO TX S5812 1
   9/24/21            50.00 PURCHASE AUTHORIZED ON 09/22 COMANCHE TRAIL VET LIBERTY HILL TX S2
   9/24/21            30.50 PURCHASE AUTHORIZED ON 09/22 Amazon.com*2G3HW0S Amzn.com/bill \JI
   9/24/21            22.52   PURCHASE AUTHORIZED ON 09/22 AMZN Mktp US*2C109 Amzn.com/bill Wt
   9/24/21            20.39 PURCHASE AUTHORIZED ON 09/22 AMAZON.COM*2C52A6N AMZN.COM/BIL
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     Date     !    $ Amount!                               Description
    9/24/21              18.39 PURCHASE AUTHORIZED ON 09/23 Amazon.com*2C7HO63 Amzn.com/bill W.
    9/24/21              15.57 PURCHASE AUTHORIZED ON 09/22 AMZN MKTP US*2G98N AMZN.COM/BILL
    9/24/21               5.86 PURCHASE AUTHORIZED ON 09/22 Amazon.com*2C0E73N Amzn.com/bill W,
    9/27/21             500.00 ZELLE TO REAGAN JANET ON 09/26 REF #RP0CHFNLRK HAY
    9/27/21              26.11 PURCHASE AUTHORIZED ON 09/25 Amazon.com*2C0WS5P Amzn.com/bill W
    9/27/21              21.37 PURCHASE AUTHORIZED ON 09/22 AMAZON.COM*2G5V357 AMZN.COM/BIL
    9/28/21             268.57 PURCHASE AUTHORIZED ON 09/27 COSTCO WHSE #1152 CEDAR PARK TX S3E
    9/28/21              59.47 PURCHASE AUTHORIZED ON 09/27 COSTCO WHSE #1152 CEDAR PARK TX S3E
    9/28/21              35.00 PURCHASE AUTHORIZED ON 09/27 CEDAR PARK PEDIATR CEDAR PARK TX S4t
    9/28/21               3.99 PURCHASE AUTHORIZED ON 09/27 COSTCO WHSE #1152 CEDAR PARK TX S3C
    9/30/21              38.54 PURCHASE AUTHORIZED ON 09/29 H-E-B #592 LEANDER TX S3012727792228
    9/30/21               0.99 RECURRING PAYMENT AUTHORIZED ON 09/28 APPLE.COM/Bill 866-712-775
              ~I-3-0-,9-09-.-13-,I TOTAL
